IN THE UNITED STATES DISTRICT ‘COURT Py 1. np
FOR THE MIDDLE DISTRICT OF, FTRNNESSEE

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Plaintiff(s),

Case Number 4 ‘ LS -€ V- CO2BS

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Judge \ Ace, SI V2 Chen Sol
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(Address & Telephone Number, if any)

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Montgomery County CIVIL SUMMONS
Clarksville Tennessee . CC- QS-CY-VIS

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Serve By: s/s Montgomery Co Sheriff's Dept Secretary of State Comm of Insurance

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You are hereby summoned to defend a civil action filed against you in Circuit Court, Montgomery County, ae POF ure Stee ust be mat ps

within thirty (30) days from the date this summons is served upon you. You are directed to file your defense with the clerk of the court and send a

copy to the plaintiff's attorney at the address listed below. If you fail to defend this action, judgment by default may be rendered against you for the

relief sought in the vf E

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Issued: | |
W éndy Pew ig, Clerk / Deputy Clerk
Attorney for Plaintiff; = = =

NOTICE OF PERSONAL PROPERTY EXEMPTION

TO THE DEFENDANT(S): Tennessee law provides a ten thousand dollar ($10,000) personal property exemption as well as a homestead exemption
from execution or seizure to satisfy a judgment. The amount of the homestead exemption depends upon your age and the other factors which are
listed in TCA § 26-2-301. If a judgment should be entered against you in this action and you wish to claim property as exempt, you must file a
written list, under oath, of the items you wish to claita as exempt with the clerk of the court. The list may be filed at any time and may be changed by
you thereafter as necessary; however, unless it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment
issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed; these include items of necessary
wearing apparel (clothing) for your self and your family and trunks or other receptacles necessary to contain such apparel, family portraits, the family
Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do not understand your exemption
right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state case number on list.

CERTIFICATION (IF APPLICABLE)

I, Wendy Davis, Circuit Court Clerk of Montgomery County, Tennessee, do certify this to be a true and correct copy of the original summons issued
in this case.

Date:

Wendy Davis, Clerk / Deputy Clerk

SERVICE RETURN: Please execute this summons and make your return within ninety days of issuance as provided by law.

I certify that I have served this summons and complaint as follows:

I certify that I was unable to serve the summons and complaint because:

Date: By:

Officer, Title/Process Server
RETURN ON SERVICE OF SUMMONS BY MAEL: I hereby certify and return that on A / S ~} QS , L sent postage
prepaid, by registered return receipt mail : i eipt mail, a certified copy. of the summons and b cody of the complaint in the above

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Plaintiff sAtterney (or Pe Penyon Authorized to Serve Process)
SWORN TO AND SUBSCRIBED BEFORE ME .
THIS DAY OF , 20
Notary Public / Deputy Clerk (Comm. Expires )

(Attach return receipt on back) ~

ies ADA - If you have a disability and require assistance, please con "by 55 cbs of

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Response to Defendant Regions Bank's Motion to Dismiss

IN THE CIRCUIT COURT FOR MONTGOMERY COUNTY, TENNESSEE
DR. REGINA JORDAN-SODIQ, Plaintiff, v. STATE OF TENNESSEE, et al., Defendants.

Case No.: CC-25-CV-170

PLAINTIFF’S RESPONSE TO DEFENDANT REGIONS BANK’S MOTION TO
DISMISS

Plaintiff, Dr. Regina Jordan-Sodiq, respectfully submits this Response opposing Defendant
Regions Bank's Motion to Dismiss.

Introduction Plaintiff, Dr. Regina Jordan-Sodiq, respectfully submits this response opposing
Defendant Regions Bank's Motion to Dismiss and requests that this Honorable Court deny the
motion in its entirety. The Defendant’s Motion to Dismiss is without merit and fails to establish
sufficient grounds for dismissal under Tennessee Rules of Civil Procedure. Plaintiff contends
that the motion lacks merit and that the claims raised in the Complaint are both legally and
factually sufficient to proceed.

1. Factual Background:

From approximately 2005 to 2008, Plaintiff, Dr. Regina Jordan-Sodiq, was subjected to a
conservatorship imposed by Regions Bank (formerly AmSouth Bank) and its employee, Betty J.
Johnson, without Plaintiff's consent or due process of law. This conservatorship was enforced
under false pretenses, resulting in significant emotional, financial, personal, professional, and
health-related harm to the Plaintiff.

The Plaintiff believes that Regions Bank and its employees conspired with the Department of
Veterans Affairs to impose this illegal conservatorship, employing community gang-stalking
tactics to which the Plaintiff has been subjected for decades. Despite numerous attempts to seek
resolution, the Plaintiff has not received any satisfactory response or remedial action from
Regions Bank.

Regions Bank’s actions violated the Plaintiff’ s rights under the Tennessee Conservatorship
Act, which requires adherence to due process and transparency in establishing and administering
conservatorships. Additionally, Regions Bank’s conduct may have breached federal consumer
protection statutes, including those enforced by the Federal Deposit Insurance Corporation
(FDIC), which mandate fair and lawful treatment of consumers by financial institutions.

As a result of the false and forced conservatorship, the Plaintiff experienced the following
impacts:

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1. Emotional Distress: Severe anxiety and emotional distress, affecting the Plaintiff's
mental health and daily life.

2. Financial Loss: Substantial financial harm, including lost income and legal expenses.

3. Personal Hardship: Strain on personal relationships and disruptions in the Plaintiff's

personal life.
4. Professional Setbacks: Adverse effects on the Plaintiff's career, leading to job loss and

missed professional opportunities.
5. Health Decline: Detrimental effects on the Plaintiff's physical health, necessitating

medical care.

The Plaintiff asserts that Regions Bank’s actions constitute violations of federal and state laws,
including but not limited to the Tennessee Conservatorship Act and relevant consumer
protection statutes designed to safeguard individuals from exploitative financial practices.

Argument a. The Defendant misapplies the rules under Tennessee Rules of Civil Procedure. b.
Plaintiffs Complaint sufficiently alleges causes of action and satisfies all pleading requirements.
c. Specific arguments addressing the claims in their motion to dismiss:

1. Jurisdiction Regions Bank argues that this Court lacks jurisdiction; however, this Court does
have jurisdiction over the matter. The events in question occurred in Tennessee, and Regions
Bank and its employees conducted business in this state. Additionally, the Plaintiff resides in
Tennessee, further affirming the appropriateness of jurisdiction.

2. Sufficiency of Pleading Regions Bank contends that Plaintiffs Complaint fails to meet
pleading requirements under Rule 8.01. This argument-is without-merit. The Plaintiff’ s
Complaint clearly identifies the defendants, provides a detailed timeline of events, describes the
harm suffered, and alleges violations of the Tennessee Conservatorship Act and federal
consumer protection statutes, These details satisfy the notice pleading standard.

3. Failure to State a Claim Defendant argues that the Complaint fails to state a claim under
Rule 12.02. However, Plaintiff has sufficiently alleged the necessary elements to state a claim for
relief. Plaintiff has clearly stated how the forced conservatorship violated the Tennessee
Conservatorship Act and how Regions Bank’s actions caused significant harm to the Plaintiff.

2. In Conclusion: For the foregoing reasons, Plaintiff respectfully requests that this
Honorable Court deny Defendant Regions Bank’s Motion to Dismiss and permit this case
to proceed.

Respectfully submitted,
Dr. Regina Jordan-Sodiq
1757 Autumnwood Blvd. Clarksville, TN 37042

Pro Se Plaintiff

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Certificate of Service

T hereby certify that on March 11, 2025, a true and correct copy of the foregoing Plaintiff's
Response to Defendant Regions Bank’s Motion to Dismiss was served upon the following via
email and U.S. Mail, Certified, Return Receipt Requested:

Bo Murphy Butler Snow LLP 1320 Adams Street, Suite 1400 Nashville, TN 37208
bo.murphy@butlersnow.com

Michael J. Banks Banks Law Firm 108 S. Washington Avenue, Brownsville, TN 38012:
michael@bankslawfirm.net

Date: March 11, 2025

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Signature: . Cc
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ordan-Sodiq Pro-

YB Roald J Se Plaintiff

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